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 1                            (Stipulating Parties Listed on Signature Pages)
 2                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 3                                  SAN FRANCISCO DIVISION
 4   In re: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
     ANTITRUST LITIGATION
 5                                                       MDL No. 1917
     This Document Relates to:
 6                                                       STIPULATION AND [PROPOSED]
     ALL INDIRECT PURCHASER ACTIONS                      ORDER REGARDING SCHEDULING
 7
     Electrograph Sys., Inc. v. Hitachi, Ltd., No. 11-
 8   cv-01656;
 9   Siegel v. Hitachi, Ltd., No. 11-cv-05502;
10   Best Buy Co., Inc. v. Hitachi, Ltd., No. 11-cv-
     05513;
11
     Target Corp. v. Chunghwa Picture Tubes, Ltd.,
12   No. 11-cv-05514;

13   Interbond Corp. of Am. v. Hitachi, Ltd., No. 11-
     cv-06275;
14
     Office Depot, Inc. v. Hitachi, Ltd., No. 11-cv-
15   06276;
     CompuCom Sys., Inc. v. Hitachi, Ltd., No. 11-cv-
16   06396;
17   Costco Wholesale Corp. v. Hitachi, Ltd., No. 11-
     cv-06397;
18
     P.C. Richard & Son Long Island Corp. v.
19   Hitachi, Ltd., No. 12-cv-02648;
20   Schultze Agency Servs., LLC v. Hitachi, Ltd., No.
     12-cv-02649;
21
     Tech Data Corp. v. Hitachi, Ltd, No. 13-cv-
22   00157;

23   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
24   Dell Inc. v. Hitachi Ltd., No. 13-cv-02171;
25   Sharp Elecs. Corp. v. Koninklijke Philips Elecs.
     N.V., No. 13-cv-02776.
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     STIPULATION AND [PROPOSED] ORDER                                           Case No. 07-5944
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 1            WHEREAS, Indirect Purchaser Class Plaintiffs (“IPPs”), the Direct Action Plaintiffs

 2   (“DAPs”), and Defendants agree that a modification to the existing expert discovery schedule will

 3   aid in the efficient resolution of this litigation;

 4            WHEREAS, the proposed modification will change the existing deadlines for serving

 5   expert reports, but will not change the existing fact discovery deadline (September 5, 2014) or the

 6   trial date (March 9, 2015) in this litigation;

 7            IT IS HEREBY STIPULATED AND AGREED by and between counsel for the IPPs,

 8   DAPs, and counsel for the undersigned Defendants1 in the above-captioned actions as follows:

 9                                                      SCHEDULE

10   March 25, 2014*                     Last day for IPPs and DAPs to serve opening expert reports on the

11                                       merits; last day for Defendants to serve opening expert reports on

12                                       affirmative defenses;

13   June 24, 2014*                      Last day for Defendants to serve opposition expert reports on the

14                                       merits; last day for IPPs and DAPs to serve opposition expert

15                                       reports on affirmative defenses;

16   August 5, 2014                      Last day for IPPs and DAPs to serve rebuttal expert reports on the

17                                       merits; last day for Defendants to serve rebuttal expert reports on

18                                       affirmative defenses;

19   September 12, 2014                  Last day for IPPs, DAPs and Defendants to serve sur-rebuttal

20                                       reports to any expert they are opposing and who serves a rebuttal
21                                       report;

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26   1
       The following entities do not join in this stipulation: Technicolor SA (f/k/a Thomson SA), Technicolor USA, Inc.
     (f/k/a Thomson Consumer Electronics, Inc.), Mitsubishi Electric Corporation, Mitsubishi Digital Electronics
27   America, Inc., and Mitsubishi Electric US, Inc. (f/k/a Mitsubishi Electric and Electronics, USA, Inc.). In addition, on
     August 1, 2013, Special Master Legge entered an Order (Dkt. No. 1820) staying discovery against Thomson
28   Consumer Electronics, Inc., so it is not participating in discovery.

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 1          *For any depositions that Plaintiffs have noticed, but have not yet taken, by March 25,

 2   2014, the IPPs, DAPs and Defendants may supplement their opening and opposition expert

 3   reports to the extent that the supplements are limited to evidence that is elicited during such

 4   depositions. Any such supplements must be served by July 11, 2014.

 5          All parties reserve the right to seek modification of the schedule based on the number of

 6   expert reports, which is presently unknown.

 7                                                   ***

 8          The undersigned Parties jointly and respectfully request that the Court enter this

 9   stipulation as an order.

10   PURSUANT TO STIPULATION, IT IS SO ORDERED.

11

12           January 3, 2014
     Dated:___________________                          ______________________________________
                                                                    Hon. Samuel Conti
13                                                              United States District Judge
14   DATED: December 23, 2013

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     STIPULATION AND [PROPOSED] ORDER                                           Case No. 07-5944
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     STIPULATION AND [PROPOSED] ORDER                                         Case No. 07-5944
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26
     document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
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